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1
2       UNITED        STATES      DISTRICT             COURT

        SOUTHERN           DISTRICT      OF       NEW       YORK

3       Case        No. 1:15-cv-06119
4       -   -   - - - - - -         -     - - - - - - - - - - -x
5       STEVEN       E.     GREER, MD,

6                                                      Plaintiff,

7                           -against -

8       DENNIS        MEHIEL, ROBERT               SERPICO, THE

        BATTERY        PARK      CITY     AUTHORITY,                 HOWARD

9       MILSTEIN, STEVEN                 ROSSI,         JANET         MARTIN,

        MILFORD        MANAGEMENT,            and       MARINERS

10      COVE        SITE    B    ASSOCIATES,

11                                                     Defendant.
12      -   -   -    - - - - - - -            -    -    -    -   -    -   - - - -x
13                                         6 East 43rd Street
                                           New         York, New           York

14
                                           April 7, 2017
15                                         10:05 a.m.
16
17              DEPOSITION          of    HOWARD            MILSTEIN, one           of
18      the Defendants in                 the above -entitled
19      action, held at the                   above          time and         place,
20      taken        before Arthur            Hecht, a Shorthand
21      Reporter           and    Notary Public of the State of
22      New     York, pursuant to the Federal Rules of
23      Civil Procedure, and stipulations between
24      Counsel.
25


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                                                                                     Page 2

1
2       A   P   P       E    A    R    A    N    C   E    S
3
        STEVEN              E.    GREER, MD
4       Pro     Se          Plaintiff
        4674        Tatersall                   Court
5       Columbus, Ohio                          43230
        (via        teleconference)
6
7
        ROSENBERG                 &    ESTIS, P.C.
8       Attorneys                for        Defendants            Mariners        Cove
        Site        B       Associates, Milford                       Management,
9       HOWARD              MILSTEIN,                JANET     MARTIN       and   STEVE
        ROSSI
10      733 Third                 Avenue
        New     York, New                   York         10017
11      BY:         DEBORAH                RIEGEL, ESQ.
12
13      SHER        TREMONTE, L.L.P.
        Attorneys                for       Battery            Park    City    Authority
14      and     ROBERT                SERPICO
        90 Broad                 Street
15      New     York, New                   York         10004
        BY:         MICHAEL                TREMONTE, ESQ.
16
17
        ALSO        PRESENT:                    ABBY      GOLDENBERG, ESQ.
18
19


20
21
22
23
24
25


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                                                                                Page 23


1                                          Milstein

2             Q.          Are        you    aware       that I         e -mailed       a

3       letter      in    early        2014       to    all      parties,

4       including          your      company, to                 not delete      any

5       records including                   e -mails         because

6       litigation             was    pending?

7                          MS.       RIEGEL:           Objection.

8              A.          No,       no, I'm          not.

9              Q.          Regarding             my    14    years       of living

10      at 200      Rector           Place,       you       have       argued, and

11      I    say    you    loosely,          your       lawyers          have

12      argued       that my          lease       was       not renewed

13      because       of       due    cause, one             of    them    is

14      because       I    was essentially                   a    troublemaker,

15      bothering          and       harassing          other          tenants    at

16      200    Rector          Place, can             you    cite       some

17      examples          of    that behavior?

18                         MS.       RIEGEL:           Objection.

19             A.          I    don't --          I    don't recall             any

20      specifics, no.

21             Q.          Did       your    employees             at Milford

22      Management ever                warn       me    in       any    way, put       me

23      on    notice       or    send       me    any       form       of incident

24      report?

25                         MS.       RIEGEL:           Objection.


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                                                                      Page 24

 1                                  Milstein

 2             A.       I don't know.

 3             Q.       You    don't know         or       they did    not

 4      do it?

 5             A.       I don't know.

 6             Q.       Another      reason       they claim          my

 7      lease       was not renewed is I               was late       or

 8      erratic in       payment of rent since

 9      approximately 2012?

10             A.       Well, that's          the      usual reason

11      people don't get their leases renewed.

12             Q.       Okay.       Why   then did          they   renew

13      my lease in          May of 2013?

14                      MS. RIEGEL:           Objection.

15             A.       I don't know.

16             Q.       That was less           than       12 months

17      before       the letter I received saying                  they

18      would       not renew   my lease, so if I were

19      late in      payment or       a   troublemaker, why did

20      they renew       the lease in          2013?

21                      MS    RIEGEL:        Objection.

22             A.       I don't know, I'm              not familiar

23      with    the details.

24             Q.      Are    you   aware      of documents I've

25      produced      that are      scanned images of my

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                                                                 Page 25

1                                 Milstein
2       checks that I paid for rent in the year
3       2013 and they had had the first day of the
4       month on them?
5                      MS. RIEGEL:           Objection.
6              A.      No, I'm not.
7              Q.      Have you evicted or not renewed
8       the lease of any other residential renter
9       in your building in Battery Park since
10      2013?
11                     MS. RIEGEL:           Objection.
12             A.      I don't know.
13             Q.      Do you know if anyone has ever
14      been evicted for being late in rent since
15      2013 in Battery Park buildings you own --
16                     MS. RIEGEL:           Objection.
17             Q.      -- or manage?
18             A.      That's correct, I don't know the
19      status of those particular buildings.
20             Q.      Okay.      Are you aware of
21      complaints by numerous people who live in
22      your buildings in Battery Park that
23      monthly balances issued to them by the
24      Milford Management accounting system is
25      often inaccurate showing erroneous

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1                                 Milstein
2       balances?
3                      MS. RIEGEL:           Objection.
4              A.      No, I'm not.
5              Q.      Are you aware that I had been
6       e-mailing Milford Management, Lorraine
7       Doyle, Clive Spagnoli and others, Sharon
8       Hill since 2009 at least hundreds of times
9       that almost every month, my balance was
10      wildly inaccurate?
11                     MS. RIEGEL:           Objection.
12             A.      No, I'm not.
13             Q.      Do you know what computer
14      accounting system or what type of
15      accounting system does Milford Management
16      use?
17                     MS. RIEGEL:           Objection.
18             A.      I don't know.
19             Q.      Do you go to Battery Park City
20      and visit your buildings very often?
21                     MS. RIEGEL:           Objection.
22             A.      No, I don't.
23             Q.      Do you recall the last time you
24      stepped foot into 200 Rector Place?
25                     MS. RIEGEL:           Objection.

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1                                 Milstein
2              A.      No, I don't.
3              Q.      Are you aware of a website, news
4       website called batterypark.tv?
5              A.      No, I've never seen any site
6       like that.
7              Q.      I used to live in apartment 35F
8       at 200 Rector Place, is that unit still
9       vacant?
10                     MS. RIEGEL:           Objection.
11             A.      I don't know.
12             Q.      Are approximately 430 rental
13      units located in 377 Rector, 380 Rector
14      and 200 Rector, those are rental units
15      that you are not selling as condos, are
16      those up now for sale as condominiums?
17                     MS. RIEGEL:           Objection.
18             A.      That's a matter of dispute.
19             Q.      Have any of your business
20      partners initiated plans to sell those
21      condominiums?
22                     MS. RIEGEL:           Objection, and I'm
23             going to direct the witness not to
24             answer, it's beyond the scope of the
25             permissible discovery.                  It's intended

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1                                 Milstein
2              A.      No, I can't.
3              Q.      Were you aware or even made
4       aware of the 2014 lawsuit initiated
5       against me by Mariners Cove Site B calling
6       me a holdover?
7                      MS. RIEGEL:           Objection.
8              A.      I don't recall any specific
9       discussion.
10             Q.      When a lawsuit is decided to be
11      undertaken against a renter, who at
12      Milford Management has the authority to
13      authorize the expenditures of legal fees
14      on a lawsuit?
15                     MS. RIEGEL:           Objection.
16             A.      In general, Amy Gould is
17      responsible for that part of our business,
18      but individual managers may also play a
19      role in the decisions.
20             Q.      By an individual manager, would
21      that include Steve Rossi or Lorraine
22      Doyle?
23             A.      Yes, both of them.
24             Q.      When did you become aware of my
25      Federal complaint for which you're being

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1                                 Milstein
2       deposed right now, when did you become
3       aware of that?
4              A.      I don't recall.
5              Q.      Who authorized the hiring of
6       Rosenberg & Estis for this Federal
7       complaint?
8                      MS. RIEGEL:           Objection.
9              A.      I don't recall.
10             Q.      Would Steve Rossi or Janet
11      Martin have been able to authorize the
12      defense in this lawsuit without your
13      knowledge?
14                     MS. RIEGEL:           Objection.        Dr.
15             Greer, you're getting perilously close
16             to the line, so I'm going to let him
17             answer this question, but --
18                     DR. GREER:          No colloquy, Ms.
19             Riegel, you're not allowed to have
20             colloquy, just say objection.                   Do not
21             try to chill my questioning with
22             threats, like you're becoming
23             perilously close, that is a threat.
24             Do not do that.
25             Q.      Mr. Milstein, would Steve Rossi

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1                                 Milstein
2       or Janet Martin have been allowed to hire
3       Rosenberg & Estis for this Federal lawsuit
4       without you knowing?
5                      MS. RIEGEL:            Objection.
6              A.      They might have.
7              Q.      Did you know about it when they
8       initiated the hiring of Rosenberg & Estis?
9                      MS. RIEGEL:            Objection.
10             A.      I don't recall one way or the
11      other.
12             Q.      Is there any reason why you
13      would not recall important matters, do you
14      have any sort of medical issue to cause
15      you to not recall?
16                     MS. RIEGEL:            Objection.
17             A.      No, I don't have any medical
18      condition that would cause me not to
19      recall.
20             Q.      So when a Federal lawsuit is
21      initiated against you, you do not recall
22      key details of it, is that correct?
23                     MS. RIEGEL:            Objection.
24             A.      You've heard my answer -- you've
25      heard my answer so far, I have no further

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1                                 Milstein
2       comment to add to that.
3              Q.      Who is Andrew Berkman, that's
4       B-E-R-K-M-A-N, I think, there might be
5       another E in there, who is Andrew
6       Berkman?
7              A.      He is our in-house general
8       counsel in our -- in our real estate
9       business.
10             Q.      I am not clear whether he is
11      actively representing you in this case or
12      not, he filed a notice of appearance that
13      has not been seen since.                    Is Andrew
14      Berkman currently one of the lawyers on
15      this complaint defending for you?
16                     MS. RIEGEL:            Objection.
17             A.      He may well be.
18             Q.      Well, that's not really an
19      answer, is he, yes or no?
20             A.      I don't know.
21             Q.      He's your in-house lawyer and
22      you do not know whether he's on this case,
23      is that correct?
24                     MS. RIEGEL:            Objection.
25             A.      I don't know if he's on the case

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1
2                      C E R T I F I C A T I O N
3
4              I,   ARTHUR HECHT, a Notary Public for
5       and within the State of New York, do
6       hereby certify that the foregoing witness,
7       HOWARD MILSTEIN, was duly sworn on the
8       date indicated, and that the foregoing is
9       a true and accurate transcription of my
10      stenographic notes.
11             I further certify that I am not
12      employed by nor related to any party to
13      this action.
14
15
16
17                                <%Signature%>
18                        _______________________
                                  ARTHUR HECHT
19
20
21
22
23
24
25

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